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                   Exhibit 32
                            Case 3:16-cr-00411-VC Document 116-29 Filed 09/19/17 Page 2 of 2
(7521 unread) - nmorgovsky@yahoo.com - Yahoo Mail                                                                                                                                    5/22/17, 3)25 PM


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     Compose                      Search results                                     Archive                                 More


  Inbox (7521)                   FW: Geico Commercial (28)
  Drafts (60)
                                 Naum, Naum Morgovsky, Morgovsky <nmorgovsky@yahoo.com>                                                 04/11/13 at 10:18 AM
  Sent                           To Bill Grube
  Archive

  Spam (34)
                                 Hi Bill,

  Trash                          I am on a cruise going from Bangkok to Dubai via India with my wife.
  Smart Views
                                 After receiving two pieces of T3 from you, I took the manual and quick-start card out of
    Important                    one the cases to browse through them and forgot to put them back before the unit was
    Unread                       shipped to a customer. They are at my house, and there is nobody at my house in my
    Starred                      absence, so they cannot be sent to the customer before I return while the customer needs
    People                       them urgently.
    Social
                                 Is there any way you can find a way to get a scanned copy of the manual and quick-start
    Shopping                     card for T3 and email them to me ASAP? I will greatly appreciate that.
    Travel
    Finance                      Best wishes, Naum
  Folders

  Recent
                                 From: Bill Grube <bill.grube@nvdepot.com>
                                 To: "Naum, Naum Morgovsky, Morgovsky" <nmorgovsky@yahoo.com>
  Sponsored
                                 Sent: Tuesday, March 26, 2013 6:28 AM
                                 Subject: RE: Geico Commercial

                                 Hi Naum,

  StantonDaily
                                 Thank you for the order. I will go through the new 9815 tubes that just came in and will let
  Remember Her? Try Not To       you know if there are any additional tubes available.
  Gasp When You See Her Now


                                 Best regards
                                 Bill Grube
                                 President
                                 Night Vision Depot, Inc.
                                 www.nvdepot.com
                                 Ph: 610-395-9743
                                 Fax: 610-395-9744



                                 The real secret to success is enthusiasm

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                                 From: Naum, Naum Morgovsky, Morgovsky [mailto:nmorgovsky@yahoo.com]
                                 Sent: Monday, March 25, 2013 5:48 PM
                                 To: Bill Grube
                                 Subject: Re: Geico Commercial

                                 Hi Bill,
   Try the new Yahoo Mail


https://mg.mail.yahoo.com/neo/launch?.rand=dsnvmenhn99h5#1044018876                                                                                                                       Page 1 of 1
